      Case 2:19-cv-04532-ROS Document 394 Filed 05/09/23 Page 1 of 3




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16                               UNITED STATES DISTRICT COURT

17                                        DISTRICT OF ARIZONA

18                                                        No. 2:19-cv-04532-ROS-ESW
      Earl Felton Crago, Jr.,
19                           Plaintiff,                    JOINT STATUS REPORT
20           v.

21    Joseph Pitz, et al.,
                             Defendant.
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      Case 2:19-cv-04532-ROS Document 394 Filed 05/09/23 Page 2 of 3




 1          The parties, through counsel and pursuant to the Court’s Order at Doc. 393,
 2 provide this update to the Court. The parties are in the process of negotiating a resolution

 3
     to all claims in this matter. Defendant will provide a declaration from Fred Moreno, the
 4
     Assistant Director of Facilities Management, regarding the replacement of cell doors and
 5
     locks at Buckley Unit. Once Plaintiff receives this declaration, the parties anticipate filing
 6
     a stipulation to dismiss this case with prejudice, each party to bear their own fees and
 7
     costs. The parties do not anticipate any need for dispositive motions. The parties will file
 8

 9 a supplement to this update by Friday, May 12.

10    Dated: May 9, 2023                         PERKINS COIE LLP

11                                               By: /s/ Janet M. Howe
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      Case 2:19-cv-04532-ROS Document 394 Filed 05/09/23 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2            I hereby certify that on May 9, 2023, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 3
     Notice of Electronic Filing to the following CM/ECF registrants:
 4
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